8:06-cr-00116-RFR-MDN        Doc # 765     Filed: 08/05/10    Page 1 of 2 - Page ID # 8056




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:06CR116
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                    ORDER
                                              )
EVEREADA KOURIS,                              )
                                              )
              Defendant.                      )

       This matter is before the Court on the Defendant’s motion for reconsideration of the

Court’s previous Memorandum and Order summarily denying her motion to vacate filed

under 28 U.S.C. § 2255 (Filing No. 764).

       The Court denied Kouris’s § 2255 motion as untimely, stating that the motion was

placed in the prison mailing system one day after her one-year deadline. The Court based

its conclusion on the following: the certificate of service, dated June 19, 2010 (Filing No.

762, at 16); the cover letter with the motion dated June 19, 2010 (Id., at 15); and Kouris’s

declaration (Id., at 14). With respect to the dates on the certificate of service and cover

letter, another digit had been changed in handwriting to a “9.” (Id., at 15-16.)

       In her motion for reconsideration, Kouris states that, “[w]ith all due respect” her

certificate of service and cover letter were dated June 18, 2010. She stated in her unsworn

letter that she deposited the motion in the prison mail system on “July [sic] 18, 2010.”

(Filing No. 764.) She attached to her motion a certificate of service and cover letter with

typewritten dates of June 18, 2010, asking that they be substituted for the pages filed with

her § 2255 motion.
8:06-cr-00116-RFR-MDN       Doc # 765     Filed: 08/05/10    Page 2 of 2 - Page ID # 8057




      The motion for reconsideration will be denied. Considering the written record in this

case surrounding the filing of the § 2255 motion, Kouris’s unsworn statements in her

motion and newly submitted pages lack credibility.

      IT IS ORDERED:

      1.     The Defendant’s motion for reconsideration (Filing No. 764) is denied; and

      2.     The Clerk is directed to mail a copy of this Memorandum and Order to the

             Defendant at her last known address.

      DATED this 5th day of August, 2010.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge




                                            2
